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16
                                 UNITED STATES DISTRICT COURT
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                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
18
                                                     Case No. 5:20-cv-03664-LHK-SVK
19    CHASOM BROWN, WILLIAM BYATT,
      JEREMY DAVIS, CHRISTOPHER                      DECLARATION OF VIOLA TREBICKA
20    CASTILLO, and MONIQUE TRUJILLO,                IN SUPPORT OF GOOGLE’S
      individually and on behalf of all similarly    ADMINISTRATIVE MOTION TO SEAL
21                                                   JOINT CASE MANAGEMENT
      situated,
                                                     STATEMENT
22          Plaintiffs,
23                                                   Referral: Hon. Susan van Keulen, USMJ
                   v.
24
      GOOGLE LLC,
25          Defendant.
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                                                                    Case No. 5:20-cv-3664-LHK-SVK
                                      TREBICKA DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
                                                          JOINT CASE MANAGEMENT STATEMENT
      Case 4:20-cv-03664-YGR Document 168-1 Filed 05/19/21 Page 2 of 3




 1          I, Viola Trebicka, declare as follows:
 2          1.     I am a member of the bar of the State of California and a partner with Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6          2.     Pursuant to Civil Local Rule 79-5, I submit this declaration in support of Google’s
 7 Administrative Motion to Seal portions of the parties’ Joint Case Management Statement. In making

 8 this request, Google has carefully considered the relevant legal standard and policy considerations

 9 outlined in Civil Local Rule 79-5. Google makes this request with the good faith belief that the
10 information sought to be sealed consists of Google’s confidential and proprietary information and

11 that public disclosure could cause competitive harm.

12          3.     Google respectfully requests that the Court seal the redacted portions of the Joint
13 Case Management Statement, attached hereto as Exhibit A.

14          4.     The information requested to be sealed contains Google’s highly confidential and
15 proprietary information regarding highly sensitive features of Google’s internal systems and

16 operations, including details related to the cookies and identifiers Google uses internally and their

17 proprietary functions, that Google maintains as confidential in the ordinary course of its business

18 and is not generally known to the public or Google’s competitors.

19          5.     Such confidential and proprietary information reveals Google’s internal strategies,
20 system designs, and business practices for operating and maintaining many of its important services,

21 and falls within the protected scope of the Protective Order entered in this action. See Dkt. 81 at 2-

22 3.

23          6.     Public disclosure of such confidential and proprietary information could affect
24 Google’s competitive standing as competitors may alter their identifier and cookie system designs

25 and practices relating to competing products. It may also place Google at an increased risk of cyber

26 security threats, as third parties may seek to use the information to compromise Google’s identifier

27 system.

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                                                   1                Case No. 5:20-cv-3664-LHK-SVK
                                      TREBICKA DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
                                                          JOINT CASE MANAGEMENT STATEMENT
     Case 4:20-cv-03664-YGR Document 168-1 Filed 05/19/21 Page 3 of 3




 1         7.     For these reasons, Google respectfully requests that the Court order the Joint Case

 2 Management Statement to be filed under seal.

 3         I declare under penalty of perjury of the laws of the United States that the foregoing is true

 4 and correct. Executed in Los Angeles, California on May 19, 2021.

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 6 DATED: May 19, 2021                         QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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 9                                               By
                                                      Viola Trebicka
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                                                      Attorney for Defendant
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                                                  2                 Case No. 5:20-cv-3664-LHK-SVK
                                      TREBICKA DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
                                                          JOINT CASE MANAGEMENT STATEMENT
